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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- X
UNITED STATES OF AMERICA,                                :
                                                         :                  ORDER
                  -v-                                    :
                                                         :
PETER FAUCETTA, SR.,                                     :               19-CR-829 (ER)
                                                         :
                                    Defendant.           :
-------------------------------------------------------- X

Ramos, D.J.:

        The status conference previously scheduled for October 22, 2020, is hereby rescheduled

for 11:15 a.m. on October 22, 2020, and will now occur remotely and by telephone.

        Counsel is directed to call (877) 411-9748 and use access code 3029857#. (Members of

the press and public may call the same number, but will not be permitted to speak during the

conference.) Counsel should adhere to the following rules and guidelines during the hearing:

             1. Counsel should use a landline whenever possible, should use a headset instead of
                a speakerphone, and must mute themselves whenever they are not speaking to
                eliminate background noise. In addition, counsel should not use voice-activated
                systems that do not allow the user to know when someone else is trying to speak
                at the same time.

             2. To facilitate an orderly teleconference and the creation of an accurate transcript,
                counsel are required to identify themselves every time they speak. Counsel
                should spell any proper names for the court reporter. Counsel should also take
                special care not to interrupt or speak over one another.

             3. If there is a beep or chime indicating that a caller was dropped from the call,
                counsel should pause to allow the Court to confirm that the court reporter has not
                been dropped from the call.

             It is SO ORDERED.


Dated: October 21, 2020
       New York, New York
                                                               ____________________________
                                                               Edgardo Ramos, U.S.D.J.
